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                                                                                                   A LIMITED LIABILITY PARTNERSHIP




                                                     February 8, 2024


       VIA ECF FILING

       Molly C. Dwyer
       Clerk of Court
       U.S. Court of Appeals for the Ninth Circuit
       James R. Browning Courthouse
       95 Seventh Street
       San Francisco, CA 94103

                 Re: Federal Trade Commission v. Microsoft Corp., No. 23-15992

       Dear Ms. Dwyer:

                Nothing in the FTC’s February 7, 2024 letter undermines the primary reason for
       affirmance: The FTC’s failure to raise a serious question as to whether Microsoft is likely to
       foreclose competition in the alleged console, subscription, or cloud markets. Specifically, the FTC
       failed to establish at trial that Microsoft has both the ability and incentive to withhold Call of Duty,
       or that any withholding would harm competition. MSFT Br. 37-55 (“Br.”). On this front, the “post-
       merger” developments, FTC Ltr. 1, further weaken the FTC’s case, including Sony’s signing an
       agreement guaranteeing it access to Call of Duty on multiple platforms, Br. 24-25, and Activision’s
       games appearing on cloud-gaming providers like Nvidia. These are the precise kind of output-
       expanding developments that Judge Corley found were unlikely to occur absent the merger,
       including based on testimony from the FTC’s own expert. Br. 38-40; see 1-SER-158-159
       (testimony of Dr. Lee).

              While the Court need not reach the equities to affirm, Br. 64-65, the FTC’s letter provides
       no basis for undercutting Judge Corley’s findings. First, the FTC failed in both the district court
       and this Court to articulate any harm from the merger’s closing, and thus has forfeited any
       argument on this front. Br. 66-67. Moreover, the FTC’s factual assertions are incomplete and
       misleading. Consistent with broader trends in the gaming industry, 1 Activision was already
       planning on eliminating a significant number of jobs while still operating as an independent
       company. The recent announcement thus cannot be attributed fully to the merger. More important,
       Microsoft continues fully to stand behind its representations to this Court. To be clear, while some
       overlap was identified and some jobs were eliminated, FTC Ltr. 2, Microsoft has structured and is
       operating the post-merger company in a way that will readily enable it to divest any or all of the



       1    See, e.g., L.A. Times, The Video Game Industry Boomed During The Pandemic. Now Thousands Are Being
            Laid Off (Nov. 20, 2023), https://www.latimes.com/entertainment-arts/business/story/2023-11-20/video-game-
            industry-layoffs.
Activision businesses as robust market participants in the unlikely event that a divestiture
ultimately is ordered. This is precisely what Microsoft represented previously. Br. 23, 66.

                                          Respectfully submitted,




                                          Rakesh Kilaru




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